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   7   Attorneys for Defendant
       EXPERIAN INFORMATION
   8   SOLUTIONS, INC.
   9                       UNITED STATES DISTRICT COURT
  10                     CENTRAL DISTRICT OF CALIFORNIA
  11

  12   BRYCE ABBINK,                          Case No. 8:19-cv-01257-JFW-PJWx
  13                  Plaintiffs,             Hon. John F. Walter
  14         v.                               [PROPOSED] ORDER GRANTING
                                              STIPULATION TO EXTEND TIME
  15   EXPERIAN INFORMATION                   TO RESPOND TO INITIAL
       SOLUTIONS, INC., et al.,               COMPLAINT AND TO EXTEND
  16                                          TIME TO FILE A MOTION FOR
                      Defendants.             CLASS CERTIFICATION
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                                              Complaint filed: June 21, 2019
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                                                              [PROPOSED] ORDER GRANTING
                                                                                 STIPULATION
                                                              Case No. 8:19-cv-01257-JFW-PJWx
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   1                                 [PROPOSED] ORDER
   2         The Court, having considered the stipulation of Plaintiff Bryce Abbink
   3   (“Plaintiff”) and Defendant Experian Information Solutions, Inc. (“Experian”) to
   4   extend the date on which Experian shall file an answer or other response to the
   5   Complaint and the date on which Plaintiff shall file a motion for class certification
   6   pursuant to Civil L.R. 23-3 (“Motion for Class Certification”), the declaration of Jack
   7   Williams IV in support of the stipulation, and for good cause appearing, hereby
   8   orders that Experian’s deadline to file its answer or otherwise respond to the
   9   Complaint in this matter shall be August 22, 2019, and that Plaintiff’s deadline to file
  10   his Motion for Class Certification shall be December 30, 2019.
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  12   IT IS SO ORDERED.
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  14   Date: ___________________                      ______________________________
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                                                      Hon. John F. Walter
                                                      United States District Judge
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  28                                                                [PROPOSED] ORDER GRANTING
                                                                                       STIPULATION
                                                -2-                 Case No. 8:19-cv-01257-JFW-PJWx
